Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 1 of 11




                    EXHIBIT AA
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 2 of 11
                                                                            FILED
                                                    2nd JUDICIAL DISTRICT COURT
                                                                 Bernalillo County
                                                               10/28/2019 9:33 AM
                                                                    James A. Noel
                                                           CLERK OF THE COURT
                                                                  Marissa Marquez
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 3 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 4 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 5 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 6 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 7 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 8 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 9 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 10 of 11
Case 1:18-cv-01119-RB-LF Document 57-1 Filed 10/31/19 Page 11 of 11
